Case 6:04-cr-00074-RWS-KNM            Document 253          Filed 04/14/05      Page 1 of 2 PageID #:
                                            1115



                          IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF TEXAS

                                         TYLER DIVISION



 UNITED STATES OF AMERICA                          §

 Vs.                                               §            CRIM ACTION NO. 6:04CR74(9)

 JOHN LEWIS DICK                                   §



                      ORDER OF DETENTION PENDING SENTENCING



        On this date, the Defendant pled guilty to Count 19 of the Superseding Indictment pursuant

 to a plea agreement. Count 19 of the Superseding Indictment charges the Defendant with possession

 with intent to distribute and distribution of crack cocaine, in violation of Title 21, United States

 Code, Section 841(a)(1). The maximum sentence the Defendant is facing in this case is twenty

 years imprisonment. 21 U.S.C. § 841(c). Pursuant to 18 USC § 3143(a)(2), a defendant found guilty

 of a drug offense with a maximum sentence of at least 10 years shall be detained pending sentencing

 unless –

        (A)(i) the judicial officer finds a substantial likelihood that a motion for acquittal or new
               trial will be granted; or

        (ii)    an attorney for the Government has recommended that no sentence of imprisonment
                be imposed on the person; and

        (B)     the judicial officer finds by clear and convincing evidence that the person is not likely
                to flee or pose a danger to any other person or the community.

 No grounds for a motion for acquittal or new trial are apparent and the Government has not
Case 6:04-cr-00074-RWS-KNM            Document 253       Filed 04/14/05      Page 2 of 2 PageID #:
                                            1116



 recommended that no sentence of imprisonment be imposed. As a result, the Defendant has not

 satisfied section (A) and she shall be detained pending sentencing. The Defendant previously waived

 his right to a detention hearing and was remanded to the custody of the U.S. Marshal.

        In light of the foregoing, it is hereby

        ORDERED that the Defendant shall remain DETAINED pending sentencing.


        So ORDERED and SIGNED this 14 day of April, 2005.



                                                      ____________________________
                                                      JUDITH K. GUTHRIE
                                                      UNITED STATES MAGISTRATE JUDGE
